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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

    DAVID SAMBRANO ET AL.,

         Plaintiffs,

    v.                                               No. 4:21-cv-1074-P

    UNITED AIRLINES, INC.,

         Defendant.

                 TEMPORARY RESTRAINING ORDER
       Before the Court is Plaintiffs’ Motion for Temporary Restraining
   Order, filed September 22, 2021. ECF No. 5. The Court set the Motion
   for a hearing on September 24, 2021. ECF No. 10. At the hearing, the
   parties reached an agreement that obviated the need for the Court to
   then rule on the Motion. See ECF No. 28. The Court thus deferred ruling
   on the Motion at that time. See id.

      The Court also set Plaintiffs’ Motion for Preliminary Injunction for a
   hearing on October 8, 2021. Id. The day before that hearing, however,
   United filed a Partial Motion to Dismiss, alleging the Court lacked
   personal jurisdiction over claims raised by several Plaintiffs against
   United. See ECF No. 47. To permit Plaintiffs reasonable time to respond
   to United’s jurisdictional challenge, the Court set an expedited briefing
   scheduling and reset the evidentiary hearing on Plaintiffs’ Motion for
   Preliminary Injunction to October 13, 2021. ECF No. 49.

      The Court now concludes it is necessary to issue this Temporary
   Restraining Order to avoid risking irreparable injury and to maintain
   the status quo in this case pending the Court’s hearing and resolution of
   Plaintiffs’ Motion for Preliminary Injunction. ECF No. 5. Specifically,
   the parties stipulated on September 24, 2021, that United would
   temporarily refrain from placing exempted employees on leave due to
   their lack of compliance with United’s vaccine mandate. Absent entry of
   this Temporary Restraining Order, the parties’ stipulation will expire
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   before the Court can rule on whether a preliminary injunction is
   warranted. If the parties’ stipulation were to expire without temporary
   injunctive relief in place, nothing would prevent hundreds of workers
   from ostensibly either: (1) being compelled to take a vaccination in
   violation of their religious beliefs or medical restrictions, or (2) being
   placed on indefinite unpaid leave by United. To be sure, the Court is not
   currently ruling on the merits of the parties’ arguments on these points.
   Rather, the Court seeks simply to avoid the risk of irreparable harm to
   the parties and to maintain the status quo while the Court holds an
   evidentiary hearing on the Motion for Preliminary Injunction and issues
   an Order on the same.

      The Court thus concludes that Plaintiffs’ Motion for Temporary
   Restraining Order (ECF No. 5) is GRANTED in part.

      It is, therefore, ORDERED that, for the duration of this Temporary
   Restraining    Order,   United   Airlines,   Inc.   is    TEMPORARILY
   RESTRAINED and ENJOINED from placing any employee on unpaid
   leave if that employee was granted either a religious or medical
   exemption from United Airlines, Inc.’s COVID-19 vaccine mandate.
      It   is   further    ORDERED      that    United      Airlines,   Inc.   is
   TEMPORARILY RESTRAINED and ENJOINED from denying any
   requests for religious or medical accommodations from United Airlines,
   Inc.’s COVID-19 vaccine mandate due to timeliness (i.e., because the
   requests were submitted after the August 31, 2021 deadline).

      This Temporary Restraining Order will expire on October 26, 2021.
   Plaintiffs’ bond for this Temporary Restraining Order is fixed at the
   amount of $5,000.00. The Court will hold an evidentiary hearing on the
   Motion for Preliminary Injunction on October 13, 2021 at 9:30 a.m.

      SO ORDERED on this 12th day of October, 2021 at 4:15 p.m.




                   Mark T. Pittman
                   UNITED STATES DISTRICT JUDGE


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